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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
NIKE, INC. and CONVERSE INC.,                             :
                                                          :
                           Plaintiffs,                    :
                                                          : No. 13 Civ. 8012 (CM)(DCF)
         -against-                                        :
                                                          :
MARIA WU d/b/a
                                                          :
WWW.SHOECAPSXYZ.COM, et al.,
                                                          :
                           Defendants.                    :
                                                          :
----------------------------------------------------------x


                  NOTICE OF MOTION FOR ALTERNATIVE SERVICE

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, dated

January 9, 2019, the supporting Declaration of Alexandra Grossbaum, dated January 9, 2019, the

exhibits attached thereto, and all prior pleadings, papers and proceedings had herein, assignee

Next Investments, LLC by and through its undersigned counsel, will move this Court, before the

Honorable Colleen McMahon, at the Daniel Patrick Moynihan United States Courthouse, 500

Pearl Street, New York, New York 10007-1312, at a time and date to be determined by the Court

for an order (1) to serve subpoenas via email on acquiring banks Harbin Bank Co., Ltd. and

Guangdong Nanyue Bank Co., Ltd. and (2) granting such other and further relief as the Court

may deem just and proper.
     Case 1:13-cv-08012-CM-DCF Document 189 Filed 01/09/19 Page 2 of 2




Dated: New York, New York
       January 9, 2019


                                  GIBSON, DUNN & CRUTCHER LLP



                                  By: /s/ Robert Weigel
                                      Robert Weigel
                                      Howard S. Hogan
                                      Lauren M.L. Nagin
                                      Alexandra Leigh Grossbaum

                                         200 Park Avenue
                                         New York, NY 10166-0193
                                         Telephone: 212.351.4000
                                         Fax: 212.351.4035
                                         RWeigel@gibsondunn.com
                                         HHogan@gibsondunn.com
                                         LNagin@gibsondunn.com
                                         AGrossbaum@gibsondunn.com


                                         Attorneys for NEXT INVESTMENTS, LLC




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